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AO 187 (Rev. Locally 03/18) Exhibit List



                                   UNITED STATES DISTRICT COURT
                                                        DISTRICT OF MINNESOTA



       UNITED STATES OF AMERICA
                                                                               DEFENSE’S FINAL EXHIBIT LIST
                  V.
             MICHAEL HARI                                                            Case Number: 18-CR-150(1) (DWF/HB)

PRESIDING JUDGE                                       PLAINTIFF’S ATTORNEY                          DEFENDANT’S ATTORNEY
                                                          John Docherty, Allison Ethen,
       Honorable Donovan W. Frank                                                                        Shannon Elkins, James Becker
                                                                 Timothy Rank
TRIAL DATE (S)                                        COURT REPORTER                                COURTROOM DEPUTY
      November 2 – December 9, 2020                                 Lynne Krenz                                    Lori Sampson
PLF     DEF       DATE
                              MARKED       ADMITTED                             DESCRIPTION OF EXHIBITS* AND WITNESSES
NO      NO       OFFERED

          1                                11/9/20    Photo of mosque members and ATF Agents

          2                                11/9/20    Photo of mosque members and ATF Agents

          3                                11/9/20    Photo of mosque members and ATF Agents

          4                                11/9/20    Photo of fire truck and broken window

          5                                11/9/20    7 photos of latent prints from window at Dar Al-Farooq

          6                                12/3/20    Photo of tape recovered at Dar Al-Farooq

          7                                12/3/20    Photo of tape recovered at Dar Al-Farooq

          8                                12/3/20    Lab Report of Ashley Baloga, Forensic Examiner

          9                                12/3/20    Lab photo of hair from tape recovered at Dar Al-Farooq analyzed by FBI Forensic scientist

         10                                12/3/20    Lab Report of Sherri Fentress, Forensic Examiner

         11                                12/3/20    Lab Report of Jacqueline Slebrch, Forensic Examiner

         12

         13

         14                                12/7/20    Hari Individual Sample Audit

         15                                12/7/20    Map of Equicert Audit Locations

         16                                12/8/20    CRSS Webpages

         17

         18

         19                                12/7/20    Chesimard FBI Poster

         20

         21                                11/30/20 Enterprise – Michael Hari Records

         22                                12/7/20    Joe Morris Mugshot
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            23                                          12/7/20       Michael McWhorter Mugshot

            24                                          12/7/20       Equicert News volumes 1-4

            25

            26

            27                                         11/11/20 Morris Request for Guns

            28                                         11/11/20 Morris Request for Cell Phone

            29                                         11/12/20 Photo of Inside of Deer Creek Products

            30                                         11/12/20 Photo of James Christy

            31                                         11/12/20 Christy Texts to Sgt. Robbins

            32                                         11/12/20 Goex Black Powder Bottle (Physical Exhibit)

            33                                         11/30/20 FBI Chemist Robert Mothershead, Explosive Analysis Results

            34                                         11/30/20 FBI Chemist Robert Mothershead, Scraping Residue Analysis of Item 7

            35

            36                                         11/30/20 Defense Summary Chart of DAF items tested by FBI Chemist Robert Mothershead

            37                                          12/8/20       CRSS Proposal to Cull Wildlife – Albany, CA

            38                                          12/8/20       CRSS Proposal to Cull Wildlife – Mt. Tamalpais, CA

            39                                          12/8/20       CRSS Proposal to ExxonMobil – Venezuela

            40

            41                                          12/2/20       CRSS Cuba Plan

            42

            43                                          12/7/20       CRSS Class Proposal and Training Flyer

            44                                          12/7/20       Rantoul National Aviation Center Photos

            45                                          12/7/20       Rantoul National Aviation Center Maps

            46                                          12/8/20       CRSS Correspondence with the Office of Foreign Assets Control, U.S. Department of Treasury

            47                                          12/8/20       Published White Rabbit Handbook (Physical Exhibit)

            48                                          12/7/20       Photo of 340 Summer St., Paxton, IL
* Include a notation as to the location of any exhibit not held with the case file or not available because of size
